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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE


 FUSION ELITE ALL STARS, et al.,

                          Plaintiffs,              Case No. 2:20-cv-02600-SHL-cgc

 v.
                                                   JURY TRIAL DEMANDED
 VARSITY BRANDS, LLC, et al.,

                          Defendants.


 JONES, et al.,

                          Plaintiffs,              Case No. 2:20-cv-02892-SHL-cgc

 v.
                                                   JURY TRIAL DEMANDED
 BAIN CAPITAL PRIVATE EQUITY, et al.,

                          Defendants.


 AMERICAN SPIRIT AND CHEER ESSENTIALS,
 INC., et al.,
                                                   Case No. 2:20-cv-2782-SHL-cgc
                          Plaintiffs,

 v.                                                JURY TRIAL DEMANDED

 VARSITY BRANDS, LLC, et al,

                          Defendants.



           DECLARATION OF KATHERINE VAN DYCK IN SUPPORT OF
         PLAINTIFFS’ JOINT MOTION TO FACILITATE COORDINATION OF
                   DEPOSITIONS IN THE RELATED ACTIONS


         I, Katherine Van Dyck, declare the following under penalty of perjury:

         1.       I am an attorney with the law firm of Cuneo Gilbert & LaDuca LLP, counsel for

Plaintiffs, and Interim Co-Lead Counsel for Direct Purchasers in the above-captioned matter. I

make this affidavit on personal knowledge and review of my files, except as otherwise indicated.
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I submit this declaration in support of Plaintiffs’ Joint Motion to Facilitate Coordination of

Depositions in the Related Actions, filed contemporaneously herewith.

       2.      Attached as Exhibit 1 is a true and correct copy of an e-mail sent by Steven J.

Kaiser, counsel for Defendants Varsity Brands, LLC, Varsity Spirit, LLC, and Varsity Spirit

Fashion & Supplies, LLC, to undersigned and various other counsel appearing in the above-

captioned matters on October 1, 2021.

       3.      Attached as Exhibit 2 is a true and correct copy of a Stipulation and Order re

Deposition Protocol entered by U.S. District Judge Maxine M. Chesney on November 6, 2020 in

the matter of In re Hard Drive Suspension Assemblies Antitrust Litig., No. 19-md-02918, Dkt. 287

(N.D. Cal.).

       4.      Attached as Exhibit 3 is a true and correct copy of a Joint Stipulation and Discovery

Coordination Order entered by U.S. District Judge Gonzalo P. Curiel on January 24, 2018 in the

matter of In re Qualcomm Antitrust Litig., No. 17-md-02773, Dkt. 305 (N.D. Cal.).

       5.      Attached as Exhibit 4 is a true and correct copy of an Order Amending Discovery

and Case Management Protocol entered by Special Master Charles Legge on June 17, 2013 in the

matter of In re Cathode Ray Tube (CRT) Antitrust Litig., No. 07-cv-05944, Dkt. 1738 (N.D. Cal.

June 17, 2013).



       Executed this 19th day of October, 2021 in Washington, DC.


                                                 s/ Katherine Van Dyck
                                                 Katherine Van Dyck




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